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               EXHIBIT 8
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                                                     U.S. Department of Justice
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                                                          United States Attorney’s Office
                                                          Western District of Tennessee

                                                          167 North Main St
                                                          Suite 800
                                                          Memphis, TN 38103




                                                          February 18, 2025

Antonio M. Romanucci
Romanucci & Blandin
321 N. Clark St.
Suite 900
Chicago, IL 60654

        Re:     Touhy Request Regarding Department of Justice Investigation of the Memphis
                Police Department and the City of Memphis

Dear Mr. Romanucci:

I write in response to your revised request for information dated December 11, 2024, and delivered to the
United States Attorney’s Office on December 12, 2024.

Your request seeks information in connection with Wells v. City of Memphis et al., Case No. 23-cv-2224
(W.D. Tenn.), a case to which the United States is not a party. The request seeks the United States’
documents regarding an open law enforcement matter: the Department of Justice’s investigation of the City
of Memphis and the Memphis Police Department.

Your request seeks (1) all non-privileged Documents referred to in the Report, (2) all non-privileged
Documents that formed the basis for the statements and findings in the Report, and (3) all non-privileged
Documents that DOJ or the U.S. Attorney’s Office gathered in investigating and preparing the Report and
reaching their findings.

The United States declines to provide the requested information. Your request seeks protected law
enforcement materials regarding an ongoing matter with the City of Memphis. Non-privileged documents
and data underlying the investigation can be readily obtained from publicly available information or from
the City, a party to your case. Information related to the Department’s selection, compilation, review, and
analysis of City materials, or the Department’s interviews with impacted witnesses, are protected
investigatory records compiled for law enforcement purposes. Disclosure would interfere with ongoing law
enforcement proceedings. The records are also privileged under multiple doctrines.

I.      The Department’s Ongoing Investigation
On July 27, 2023, the Department opened an investigation into the City of Memphis and the Memphis
Police Department, pursuant to the pattern-or-practice provision of the Violent Crime Control and Law
Enforcement Act of 1994. 34 U.S.C. § 12601. Congress authorized the Attorney General to bring a lawsuit
on behalf of the United States seeking court-ordered changes when reasonable cause exists to believe a
governmental agency maintains a pattern or practice of violating civil rights. 34 U.S.C. § 12601(b). During
the investigation, the Department reviewed numerous documents, incident reports, body-worn camera
videos, and data from MPD and the City. In addition, the Department interviewed witnesses, conducted
observation, and reviewed more materials from third parties.
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On December 4, 2024, the Department issued a public report titled “Investigation into the City of Memphis
and Memphis Police Department” (the Report) detailing its findings. 1 The Department’s investigation into
the City of Memphis and the Memphis Police Department was conducted and the Report was prepared in
anticipation of litigation. The Department is working with the City to resolve this matter. Our investigation
therefore remains open.

II.         The Department’s Touhy Regulations
Under 5 U.S.C. § 301, commonly known as the “Housekeeping Statute,” the heads of Executive
departments may “prescribe regulations for the government of [their] department . . . and the custody, use,
and preservation of its records, papers, and property.” Pursuant to the statute, the Department of Justice has
adopted regulations that “restrict[] the ability of department employees to produce documents” and
“outlin[e] the procedures one must follow to request documents and the factors officials should consider in
determining whether to release them.” Rimmer v. Holder, 700 F.3d 246, 262 (6th Cir. 2012). These
regulations, known as Touhy regulations, determine whether and to what extent a federal agency is
authorized to disclose information. See Touhy v. Ragen, 340 U.S. 462 (1951).

In Touhy, the Supreme Court held that a federal employee could not be held in contempt for refusing to
produce subpoenaed documents where his refusal was based on regulations prohibiting the disclosure of
official information without prior authorization. 340 U.S. at 468. The Court held that the Attorney General
had the authority to “prescribe regulations . . . for ‘the custody, use, and preservation of the records, papers,
and documents appertaining to’ the Department of Justice,” id. at 468, and thereby “withdraw from his
subordinates the power to release department papers,” id. at 467. Federal agencies therefore have the
authority to decline to respond to requests for information pursuant to these regulations. See Jackson v. Allen
Indus., Inc., 250 F.2d 629, 630 (6th Cir. 1958) (approving a district court’s refusal to compel an FBI agent
to comply with a subpoena); Appeal of U.S. Securities and Exchange Comm’n, 226 F.2d 501, 516 (6th Cir.
1955) (overturning a district court’s decision to hold a federal attorney in contempt for refusing to produce
privileged documents). This authority is based on the federal government’s sovereign immunity. COMSAT
Corp. v. Nat’l Sci. Found., 190 F.3d 269, 277 (4th Cir. 1999).

The governing Touhy regulations are located at 28 C.F.R. §§ 16.22-16.28. Under these provisions, the
United States considers “[w]hether the disclosure is appropriate under the rules of procedure governing the
case or matter in which the demand arose, and whether disclosure is appropriate under the relevant
substantive law concerning privilege.” Id. § 16.26(a). Section 16.26(b) also prohibits disclosure where,
among other factors, “[d]isclosure would reveal investigatory records compiled for law enforcement
purposes, and would interfere with enforcement proceedings or disclose investigative techniques and
procedures the effectiveness of which would thereby be impaired . . . .” 28 C.F.R. § 16.26 (b)(5).

III.        The Requested Materials Are Protected from Disclosure Under Federal Rules and Substantive
            Privileges.
The requested material is not appropriate for disclosure under the Department’s Touhy regulations. To the
extent you request non-privileged information underlying the investigation, that can be obtained from the
City. The City cooperated with the investigation and provided MPD reports, body-worn camera footage,
policies, and training materials). The City has ready access to all that information.

The Rules of Civil Procedure limit discovery of information that “can be obtained from some other source
that is more convenient.” Fed. R. Civ. P. 26(b)(2)(C)(i). Courts generally avoid burdening non-parties with
discovery requests if the requesting party can easily obtain the requested information from another source.

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    Available at https://www.justice.gov/crt/media/1379096/dl?inline.
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See Raymond James & Assocs., Inc. v. 50 N. Front St. TN, LLC, No. 18-CV-2104-JTF-TMP, 2018 WL
6528192 (W.D. Tenn. Sept. 10, 2018) (“[N]umerous courts have quashed subpoenas issued to non-parties
when the requesting parties could have obtained the documents from other parties.”); Baumer v. Schmidt,
423 F. Supp. 3d 393, 408 (E.D. Mich. 2019) (“[C]ourts in this circuit have repeatedly denied motions to
compel discovery and quashed subpoenas directed to non-parties where the discovery sought was obtainable
from a party to the litigation.”); Mason v. U.S. Dep’t of Just., 3:22-MC-00002-KDB, 2022 WL 737459, at
*5 (W.D.N.C. Mar. 10, 2022) (finding qui tam relator had no substantial need for government’s interview
notes because the information was available through first-party discovery).

Other information underlying the Department’s investigation is protected by the law-enforcement privilege,
work-product privilege, and deliberative-process privilege.

    a. Law-Enforcement Privilege
The Department’s Touhy regulation protects against disclosing information that would “reveal investigatory
records compiled for law enforcement purposes, and would interfere with enforcement proceedings or
disclose investigative techniques and procedures the effectiveness of which would thereby be impaired.” 28
C.F.R. § 16.26(b)(5). This prohibition is based on the law enforcement privilege recognized by the Supreme
Court in Roviaro v. United States, 353 U.S. 53, 59 (1957).

Our findings are the result of privileged investigated techniques and procedures, and therefore protected by
the qualified law enforcement privilege. United States v. Haney, 934 F.3d 502, 507-08 (6th Cir. 2019)
(upholding district court’s decision not to compel disclosure of information about an investigative
technique). Production of the documents and information you seek would reveal records compiled for
investigatory purposes and could interfere with the current and future law enforcement proceedings.

In Gulluni v. Levy, 85 F.4th 76 (1st Cir. 2023), the First Circuit held that the U.S. Attorney for the District of
Massachusetts reasonably denied a request for information regarding the Department’s pattern or practice
investigation into the Springfield Police Department. 85 F.4th at 78. In that case, a local prosecutor
requested the documents that the Department selected and relied upon in its public findings report. The court
applied the law enforcement privilege, reasoning that “[d]isclosure of those specific materials could have
undermined DOJ’s negotiation strategies because Gulluni was seeking the fruit of DOJ’s investigative
techniques and procedures,” and “disclosure might decrease the willingness of local police departments to
share records with DOJ in the future.” Id.; see also Stephens Produce Co. v. NLRB, 515 F.2d 1373, 1376
(8th Cir. 1975) (the law enforcement privilege protects “informal investigatorial and trial-preparatory
processes”); United States v. Carell, No. 3:09-0445, 2010 WL 11610440, at *2 (M.D. Tenn. Oct. 8, 2010)
(quashing deposition of FBI agents because it would “reveal investigatory records compiled for law
enforcement purposes, would interfere with enforcement proceedings and would disclose investigative
techniques and procedures”); St. Vincent Med. Grp., Inc. v. U.S. Dep’t of Just., No. 1:22-MC-00011-JPH-
MG, 2022 WL 16715468, at *5 (S.D. Ind. Oct. 27, 2022), aff’d, 71 F.4th 1073 (7th Cir. 2023) (applying the
law enforcement privilege in the context of a Touhy request).

Disclosure of this information could thwart governmental processes by discouraging cooperation with the
Department. The materials underlying the DOJ’s ongoing pattern-or-practice investigation are therefore
entitled to this protection.

    b. Work-Product Privilege
The Department also declines to provide information in response to your request based on the work-product
privilege, which protects “documents and tangible things that are prepared in anticipation of litigation or for
trial by or for another party or its representative (including the other party’s attorney, consultant, surety,
indemnitor, insurer, or agent).” Fed. R. Civ. P. 26(b)(3); see also Hickman v. Taylor, 329 U.S. 495, 511

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(1947).

The information underlying the Department’s investigation was selected, collected, compiled, reviewed, and
analyzed in anticipation of litigation, as the First Circuit also recognized in Gulluni. There, the court
reasoned that the Department’s selection of police department documents and its determinations of
misconduct were “effectuated to correct such constitutional deprivations in which remedy would have
occurred through either litigation or a consent decree,” and therefore DOJ reasonably concluded that its
work was done in anticipation of an enforcement proceeding against the Springfield Police Department and
the city of Springfield. 85 F.4th at 83. The court specifically noted that though potential litigation would be
between DOJ and the Springfield Police Department, disclosure to a third party “could have waived DOJ’s
work product protections and impaired its negotiation leverage against SPD.” Id. at 84. Moreover, disclosure
would reveal “the thoughts and impressions of DOJ attorneys, paralegals, and investigators,” and “would
reveal the internal deliberation process within the Department of Justice.” Id. at 83.

Likewise, in Mason, a district court refused to order the Department to disclose information related to its
investigation in a qui tam case. 2022 WL 737459, at *1. There, the government declined to intervene in the
relator’s False Claims Act case and later declined to comply with the relator’s subpoena seeking witness
interview reports and other materials related to the government’s pre-declination investigation. Id. at *1–*2.
The court and the parties agreed that the government’s interview notes were protected work product and
denied the relator’s motion to compel production of the documents because the relator failed to show a
substantial need for and an inability to obtain the equivalent of the materials. Id. at *4–*5.

Disclosure of the requested documents regarding the Department’s ongoing investigation would improperly
interfere with that investigation and impair our ability to resolve this matter with the City and MPD pursuant
to 34 U.S.C. § 12601. Disclosure would also damage the Department’s ability to conduct future
investigations in other jurisdictions.

    c. Deliberative-Process Privilege
Finally, the information requested is subject to the deliberative-process privilege. “The deliberative process
privilege shields documents that reflect an agency’s preliminary thinking about a problem, as opposed to its
final decision about it.” U.S. Fish & Wildlife Serv. v. Sierra Club, Inc., 592 U.S. 261, 266 (2021). To be
protected by this privilege, a document must be both “deliberative” and “pre-decisional.” Renegotiation
Bd. v. Grumman Aircraft Eng’g Corp., 421 U.S. 168, 184 (1975); Rugiero v. U.S. Dep’t of Just., 257 F.3d
534, 550 (6th Cir. 2001). “Documents are predecisional if they were generated before the agency’s final
decision on the matter, and they are deliberative if they were prepared to help the agency formulate its
position.” Sierra Club, Inc., 592 U.S. at 268. “A predecisional document may be virtually any document that
contains personal opinions and is designed to assist agency decision-makers in making their decisions.” Mo.
Coal. for Env’t Found. v. U.S. Army Corps. of Eng’rs., 542 F.3d 1204, 1211 (8th Cir. 2008). It includes
“recommendations, draft documents, proposals, suggestions, and other subjective documents that reflect the
opinions of the writer rather than the policy of an agency.” Rugiero, 257 F.3d at 550. Facts included in a
predecisional document are also exempt to the extent their disclosure “would expose an agency’s
decisionmaking process in such a way as to discourage discussion within the agency and thereby undermine
the agency’s ability to perform its functions.” Schell v. U.S. Dep’t of H. & Hum. Servs., 843 F.2d 933, 940
(6th Cir. 1988) (quoting Dudman Comms. Corp. v. Dep’t of Air Force, 812 F.2d 1565, 1568 (D.C. Cir.
1987)).

The requested information is both predecisional and deliberative. The information you seek was generated
before the Department released its public Report and is therefore predecisional. The requested information is
also deliberative because it was collected, reviewed, analyzed, and summarized to assist Department
officials in drafting and promulgating the final Report. Deliberating litigation strategy, making
recommendations to supervisors about conclusions that can be drawn from the facts, and documenting and
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analyzing information gained during an investigation are all deliberative and therefore privileged.

IV.     Conclusion
The Department declines to disclose information in response to your request. Nonprivileged materials, such
as body-worn camera or MPD reports, can be obtained more expeditiously from the City, a party to the case.
The other materials sought are privileged. The foregoing objections are not exhaustive, and the Department
reserves the right to assert further objections in response to the requests as appropriate. If you have further
questions, please do not hesitate to contact Assistant U.S. Attorneys Chris Cotten and Stuart Canale at (901)
544-4231


                                                            Sincerely,

                                                            Reagan Taylor Fondren
                                                            Acting United States Attorney

                                                  By:       /s/ Christopher E. Cotten
                                                            Christopher E. Cotten
                                                            Assistant United States Attorney

                                                            /s/ Stuart J. Canale
                                                            Assistant United States Attorney




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